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 2                             UNITED STATES DISTRICT COURT

 3                                       DISTRICT OF NEVADA

 4
     UNITED STATES OF AMERICA,                            Case No.: 2:19-cr-00251-GMN-NJK
 5
                            Plaintiff,                   Order Granting Motion to Withdraw
 6
     v.                                                             (Docket No. 200)
 7 RENZO MARISCAL-SANABIA,

 8                          Defendant.

 9          Pending before the Court is a motion to withdraw as counsel filed by Defendant Renzo

10 Mariscal-Sanabia’s appointed attorney, David R. Fischer. Docket No. 200.

11          Based on Mr. Fischer’s representations, the Court GRANTS his motion. Docket No. 200.

12 Mr. Fischer is withdrawn as Defendant’s attorney.          The Court ORDERS the immediate

13 appointment of new counsel from the CJA panel to represent Defendant. New counsel is directed

14 to contact Mr. Fischer immediately upon appointment, so that he can arrange for the transfer of his

15 file.

16          IT IS SO ORDERED.

17          DATED: March 8, 2022.

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                                                 NANCY J. KOPPE
19                                               UNITED STATES MAGISTRATE JUDGE

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